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            11
                                                   UNITED STATES DISTRICT COURT
            12
                                               NORTHERN DISTRICT OF CALIFORNIA
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            14
                     WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
            15       and FACEBOOK, INC., a Delaware
                     corporation,                                 PLAINTIFFS’ EX PARTE MOTION FOR
            16                                                    PROTECTIVE ORDER

            17                       Plaintiffs,                  Date:      May 20, 2020
                                                                  Time:      9:00 a.m.
            18             v.                                     Courtroom: 3, 3rd Floor
                                                                  Judge:     Hon. Phyllis J. Hamilton
            19       NSO GROUP TECHNOLOGIES LIMITED
                     and Q CYBER TECHNOLOGIES LIMITED,
            20
                                     Defendants.
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ATTO RNEY S AT LAW
                                                                      PLS.’ EX PARTE MOTION FOR PROTECTIVE ORDER
 SAN FRA NCI S CO                                                                      CASE NO. 4:19-CV-07123-PJH
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              1      I.      INTRODUCTION

              2              Plaintiffs WhatsApp Inc. and Facebook, Inc. seek a limited protective order to prevent

              3      unauthorized disclosure of information that is under seal in proceedings before another court. Because

              4      those proceedings remain entirely under seal, a narrowly tailored protective order is required in this

              5      case to prevent disclosure of the sealed information in connection with WhatsApp’s Motion to

              6      Disqualify Defense Counsel Based on Prior Representation in a Sealed Matter.

              7      II.     ARGUMENT

              8              WhatsApp has concurrently filed a motion to disqualify King & Spalding LLP from

              9      representing Defendants NSO Group Technologies Inc. and Q Cyber Technologies Inc. in this

            10       litigation. As WhatsApp explains in that motion, WhatsApp seeks to disqualify King & Spalding on

            11       the grounds that (1) it previously represented WhatsApp in substantially related litigation, and (2)

            12       during that representation, attorneys at King & Spalding obtained confidential information from

            13       WhatsApp that is material to the present dispute.

            14               WhatsApp has also concurrently moved to file their motion to disqualify under seal. As

            15       explained in WhatsApp’s motion to seal and the Declaration of Daniel J. Grooms in support of the

            16       motion to seal, the previous representation involved litigation before another court that remains

            17       entirely under seal. The sealing order in that litigation prohibits WhatsApp and its agents, as well as

            18       King & Spalding, from disclosing any information related to that litigation to anyone other than the

            19       parties or their counsel. Accordingly, a limited protective order is required in this case to prevent

            20       disclosure of such information in connection with WhatsApp’s motion to disqualify.

            21               Courts have “broad discretion . . . to decide when a protective order is appropriate and what

            22       degree of protection is appropriate.” Johnson v. City & Cty. of San Francisco, No. CV 09-5503 JSW

            23       (JSC), 2012 WL 104635, at *1 (N.D. Cal. Jan. 12, 2012) (quoting Seattle Times Co. v. Rhinehart, 467

            24       U.S. 20, 36 (1984)). For instance, protective orders are appropriate when they are required to protect

            25       confidential information from disclosure. Id.

            26               Here, a limited protective order is warranted because the previous litigation remains entirely

            27       under seal. Plaintiffs will need to identify and discuss portions of that sealed information in connection

            28       with their motion to disqualify. For instance, Plaintiffs will need to rely on this information to show
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              1      that subject matter of the sealed litigation is substantially related to factual issues in the present case.

              2      Plaintiffs will also be required to identify this information to Defendants’ counsel in the motion to

              3      disqualify and accompanying materials.

              4               Plaintiffs need the requested protective order to ensure no information from the under-seal

              5      matter is disclosed to any unauthorized party, including Defendants. Thus, there is good cause for the

              6      Court to enter a limited protective order here that allows disclosure of information from the sealed

              7      litigation only to Plaintiffs, Plaintiffs’ counsel in this litigation, and Defendants’ counsel in this

              8      litigation. The limited protective order should explicitly prevent the parties and their counsel from

              9      disclosing any information from the sealed litigation to any other persons or entities, including

            10       Defendants in this litigation.

            11       III.     CONCLUSION

            12                Plaintiffs respectfully request that the Court enter a limited protective order to prevent

            13       unauthorized disclosure of information that is under seal in other proceedings. Plaintiffs have

            14       submitted a proposed protective order with this motion.

            15       Dated: April 10, 2020                           Respectfully submitted,
            16                                                       COOLEY LLP
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            18                                                                       /s/ Michael G. Rhodes
                                                                                     Michael G. Rhodes
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                                                                     Attorneys for Plaintiffs
            20                                                       WHATSAPP INC. and FACEBOOK, INC.
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